             Case 3:19-cv-00025-HTW-LRA Document 1-1 Filed 01/10/19 Page 1 of 7




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 19088976
Notice of Service of Process                                                                            Date Processed: 12/13/2018

Primary Contact:           Elizabeth Monohan
                           Humana Inc.
                           500 West Main Street
                           Louisville, KY 40202

Electronic copy provided to:                   Joyce King
                                               Wendy Enfors
                                               Dora Menard
                                               Mary McGuire
                                               Kara Wort
                                               Glicelda Bradford
                                               Kara Vogelsang
                                               Eric Holdridge
                                               Lori Mattingly

Entity:                                       Humana Insurance Company
                                              Entity ID Number 1884047
Entity Served:                                Humana
Title of Action:                              Janell Bracey vs. Humana Insurance Company
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Warren County Court, MS
Case/Reference No:                            18,0825-CO
Jurisdiction Served:                          Mississippi
Date Served on CSC:                           12/12/2018
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Omar L. Nelson
                                              601-487-2640

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                                                                                &9)*#*5"
Case 3:19-cv-00025-HTW-LRA Document 1-1 Filed 01/10/19 Page 2 of 7
Case 3:19-cv-00025-HTW-LRA Document 1-1 Filed 01/10/19 Page 3 of 7
Case 3:19-cv-00025-HTW-LRA Document 1-1 Filed 01/10/19 Page 4 of 7
Case 3:19-cv-00025-HTW-LRA Document 1-1 Filed 01/10/19 Page 5 of 7
Case 3:19-cv-00025-HTW-LRA Document 1-1 Filed 01/10/19 Page 6 of 7
Case 3:19-cv-00025-HTW-LRA Document 1-1 Filed 01/10/19 Page 7 of 7
